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                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE EASTERN DISTRICT OF TEXAS
                                        SHERMAN DIVISION

     UNITED STATES OF AMERICA §

                                                              No. 4:21-CR-221
                                                              Judge Mazza t




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                               FIRST SUPERSEDING INDICTMENT

    THE UNITED STATES GRAND JURY CHARGES:


                                                  Count One

                                                             Violation: 21 U.S.C. § 846 (Conspiracy
                                                             to Possess with the Intent to Manufacture
                                                             and Distribute Methamphetamine)



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            Tliat from sometime in or about January 2020, and continuously thereafter up to

    and including Septembe 8, 2021, in the Easte District of Texas and elsewhere.




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     defenda ts, did knowingly and intentionally combine, conspire, and agree with each other

    and other persons known and unknown to the United States Grand Jury, to knowingly

    and intentionally possess with the intent to manufacture and distribute 500 g ams or more

    of a mixhue or substance containing a detectable amount of methamphetamine and 50

    grams or more of methamphetamine (actual), a violation of 21 U.S.C. § 841(a)(1).

            In violation of 21 U.S.C. § 846.

                                                   Count Two

                                                              Violation: 18 U.S.C. § 1956(h)
                                                              (Consphacy to Conunit Money
                                                              Laundering in violation of 18 U.S.C.
                                                              §§ 1956(a)(l)(A)(i), 1956(a)(l)(B)(i),
                                                              1956(a)(2)(A) and 1956(a)(2)(B)(i))
            That from sometime in or about January 2020, and continuously thereafter up to

    and me hiding September 8, 2021,




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    defendants, did knowingly, willfblly, and nnlawfiilly combine, conspire, confederate, and

    agree together and with each other, and with others known and unknown to the Grand

    Ju y, to commit certain offenses against the United States, to-wit:

            1. to knowingly conduct and attempt to conduct financial transactions affecting

    interstate and foreign commerce that involved the proceeds of a specified unlawful

    activity, that is, Conspiracy to Possess with the Intent to Distribute a Controlled

    Substance, to-wit: methamphetamine, cocaine and heroin, as described in Counts One,

    Three and Four of this First Superseding Indictment, with the intent to promote the

    carrying on of said specified unlawful activity, and that while conducting and attempting




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    to conduct such financial transactions, knew that the property involved represented the

    proceeds of some form of unlawful activity, in violation of 18 U.S.C. § 1956(a)(l)(A)(i);

            2. to knowingly conduct and attempt to conduct financial transactions affecting

    interstate and foreign commerce that involved the proceeds of a specified unlawful

    activity, that is, Conspiracy to Possess with Intent to Distribute a Controlled Substance,

    to-wit: methamphetamine, cocaine and heroin, as described in Counts One, Three and

    Four of this First Superseding Indictment, knowing that the transaction was designed in

    whole or in part to conceal and disguise the nature, location, source, ownership, and

    control of the proceeds of the specified unlawful activity, and that while conducting and

    attempting to conduct such financial transactions, knew that the property involved

    represented the proceeds of some form of unlawful activity, in violation of 18 U.S.C.

    § 1956(a)(l)(B)(i);
            3. to knowingly transport, transmit, or transfer, or attempt to transport, transmit,

    or transfer a monetary instrument or funds from a place in the United States to or through

    a place outside the United States, or to a place in the United States from or through a

    place outside the United States, with intent to promote the canying on of specified

    unlawful activity, that is, Conspiracy to Possess with the Intent to Distribute a Controlled

    Substance, to-wit: methamphetamine, cocaine and heroin, as described in Counts One,

    Three and Four of this First Superseding Indictment, in violation of 18 U.S.C.

    § 1956(a)(2)(A); and

            4. to knowingly transport, transmit, or transfer, or attempt to transport, transmit,

    or transfer a monetaiy instrument or funds from a place in the United States to or through

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    a place outside the United States, or to a place in the United States from or through a

    place outside the United States, involving the proceeds of a specified unlawful activity,

    that is, Conspiracy to Possess with the Intent to Distribute a Controlled Substances, to-

    wit: methamphetamine, cocaine and heroin, as described in Counts One, Three and Four

    of this First Superseding Indictment, knowing that the monetary instrument or funds

    involved in the transportation, transmission, or transfer represented the proceeds of some

    form of unlawful activity and knowing that such transportation, transmission, or transfer

    was designed in whole or in part to conceal and disguise the nature, location, source,

    ownership, and control of the proceeds of the specified unlawful activity, in violation of

    18U.S.C. § 1956(a)(2)(B)(i).

                                         MANNER AND MEANS

            1. It was part of the conspiracy for members to purchase automobiles, houses,

    jewelry and other valuable assets with the proceeds derived from the distribution and sale

    of methamphetamine, cocaine and heroin and place the assets in the names of third

    parties in order to conceal or disguise the nature, location, source, ownership, and control

    of the proceeds derived from the specified unlawful activity;

            2. It was a part of the conspiracy for members to transport from the United States

    to the Republic of Mexico, United States currency that was derived from the smuggling

    of methamphetamine, cocaine and heroin into the United States and the distribution and

    sale of methamphetamine, cocaine and heroin within in the United States, in order to

    promote the carrying on of the specified unlawful activity;




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             3. It was further a part of t e couspiracy for members to receive U ited States

     cun ency derived from the distribution and sale of methamphetamine, cocaine and heroin.

     and t ansport, transmit, or transfer the illegal proceeds from the United States to the

    Republic of Mexico, for the purpose of paying for the methamphetamine, cocaine and

    heroin that this organization had received.

            4. As representative of the maimer and means of the conspiracy, and to effect

    and accomplish the objects of the conspiracy, one or more of the defendants or

    conspirators, both indicted and unindicted, and other persons known and unknown to the

    Grand Jury, performed or caused the performance of the acts in the Easte Dist ict of

    Texas and elsewhere.

            All in violation of 18 U.S.C. § 1956(h).

                                                  Cou t Three

                                                              Violation: 21 U.S.C. § 846 (Conspiracy
                                                              to Possess with the Intent to Distribute
                                                              Cocaine)

            That from sometime in or about January 2020, and continuously thereafter up to

    and including September 8, 2021, in the Easter District of Texas and elsewhere.




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    defenda ts, did knowingly and intentionally combine, conspire, and agree with each other

    and other persons known and unknown to the United States Grand Jury, to knowingly

    and intentionally possess with the intent to manufacture and distribute 5 kilograms or

    more of a mixture or substance containing a detectable amount of cocaine, a violation of

    21 U.S.C. § 841(a)(1).

            In violation of 21 U.S.C. § 846.

                                                   Count Four

                                                               Violation: 21 U.S.C. § 846 (Conspiracy
                                                               to Possess with the Intent to Distribute
                                                               Heroin)

            That from sometime in or about January 2020, and continuously thereafter up to

    and including September 8, 2021, in the Easter District of Texas and elsewhere,




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     defendants, did knowingly and intentionally combine, conspire, and agree with each other

     and other persons known and unknown to the United States Grand Jury, to knowingly

     and intentionally possess with the intent to manufacture and distribute 1 kilogram or

     more of a mixture or substance containing a detectable amount of heroin, a violation of

     21 U.S.C. § 841(a)(1).

             In violation of 21 U.S.C. § 846.

                NOTICE OF INTENTION TO SEEK CRIMINAL FORFEITURE

             As a result of committing the offense charged in this First Superseding Indictment,

     the defendants shall forfeit to the United States, pursuant to 21 U.S.C. § 853 and 18

     U.S.C. § 982, all property used to commit or facilitate the offenses, proceeds from the

     offenses, and property derived from proceeds obtained directly or indirectly from the

     offenses, including but not limited to the following:

             a. $30,000 in U.S. currency seized from]

             b. Smith and Wesson 629, .44 caliber revolver, Serial Number AJC6729 with
                 magazine and ammunition, seized from Enrique Castillo

             c. Colt .45 caliber pistol, Serial Number 70G42011 with magazine and
                 ammunition, seized from Enrique Castillo

             d. Smith and Wesson 642, .38 caliber revolver, Serial Number CTZ9130, seized
                 from Enrique Castillo

             e. Glock .380 caliber magazine and ammunition, seized from Enrique Castillo

             f. $6,362.00 in U.S. currency seized from

             g. $2,826.00 in U.S. currency seized from




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                                                                A TRUE BILL




                                                                GRAND JURY FOREPERSON



     NICHOLAS J. GANJEI
     ACTING UNITED STATES ATTORNEY



     ERNEST GONZALEZ Date
     Assistant United States Attorney




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                               IN THE UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OF TEXAS
                                         SHERMAN DIVISION

      UNITED STATES OF AMERICA
                                                               §
      v.                                                           No. 4:21-CR-221
                                                               §   Judge Mazzant
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                                                 Count One



     Violation: 21U.S.C. §846

     Penalty: If 500 grains or more of a mixture or substance containing a detectable
                   amount of methamphetamine or 50 gr ams or more of methamphetamine
                   (actual) - not less than 10 years and not more than life imprisonment, a fine
                   not to exceed $10 million, or both; supervised release of at least five years


     Special Assessment: $100.00

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                                                   Count Two



     Violation: 18 U.S.C. §§ 1956(a)(l)(A)(i), 1956(a)(l)(B)(i), 1956(a)(2)(A) and
                     1956(a)(2)(B)(i)

     Penalty: Not more than 20 years imprisonment; a fine not to exceed $500,000 or
                     twice the ecuniary gain or loss, and a term of supervised release of not
                     more than 3 years.


     Special Assessment: $100.00

                                                  Count Three

     Violation: 21 U.S.C. § 846

     Penalty: If 5 kilograms or more of a mixture or substance containing a detectable
                   amount of cocaine - not less than 10 years and not more than life
                   imprisonment, a fine not to exceed $ 10 million, or both; supervised release
                   of at least five years

     Special Assessment: $100.00

                                                   Count Four

     Violation: 21 U.S.C. § 846

     Penalty: If 1 kilogram or more of a mixture or substance containing a detectable
                   amount of heroin not less than 10 years and not more than life
                   imprisonment, a fine not to exceed $10 million, or both; supervised release
                   of at least five years

     Special Assessment: $100.00




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